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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                LYNCHBURG DIVISION

                                                  )
UNITED STATES,                                    )
                                                  )
               Plaintiffs,                        )
                                                  )
       v.                                         )
                                                    Case No. 6:22-cv-28-NKM
                                                  )
ENVIGO RMS, LLC,                                  )
                                                  )
               Defendant.                         )
                                                  )
                                                  )
                                                  )


 ENVIGO’S RESPONSE IN OPPOSITION TO THE UNITED STATES’ MOTION FOR
                      PRELIMINARY INJUNCTION

       Notwithstanding the voluminous filings by the United States early on Saturday morning,

there is actually very little that should remain in dispute in this case. Since the Court entered its

temporary restraining order on May 21, Envigo RMS, LLC (“Envigo”) has repeatedly expressed

to counsel for the United States its willingness to close its Cumberland, Virginia facility once it

is permitted to do so. Envigo and its parent company, Inotiv, Inc. (“Inotiv”) believe that doing

so would eliminate all the concerns raised in the United States’ Complaint and other filings.

However, under the Court’s May 21 Order and the relief requested by the United States’ Motion

for Preliminary Injunction (“Motion”), Envigo is prohibited from taking prudent measures to

remove dogs from the facility, including as necessary to fulfill existing research orders.

       Any order entered on the United States’ Motion should allow for the orderly wind-down

of the facility. Specifically, Envigo does not object to the United States’ requests 1-10 and 13-

14. Instead, Envigo takes issue only with requests 11 and 12. These directives would prevent

the orderly wind-down of the Cumberland Facility because they would bar the transfer of a
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subset of dogs to facilities and research institutions contractually entitled to receive them—

impacting drug development and testing.

        Envigo and Inotiv take the issues raised in this case very seriously. Since this case was

filed the companies have worked tirelessly to upgrade and improve the facility and its programs.

Over the last year, Envigo and Inotiv have invested millions of dollars towards bringing the

facility into compliance with the Animal Welfare Act (“AWA”) and related regulations. In

recent weeks, the facility and its personnel have been singularly focused on complying with the

Court’s Order. These efforts are ongoing and Envigo and Inotiv are committed to ensuring the

facility becomes and remains fully compliant with all animal welfare and other regulations for as

long as it is in operation.

        In light of the recurring nature of some of the challenges of operating the Cumberland

facility, Envigo and Inotiv have determined it is in the best interest of the companies and all

stakeholders to wind-down the facility. This would involve transferring the dogs currently

housed at the facility to new owners and then closing the facility. Closing down the facility in

this manner would serve the dual purposes of removing beagles from the Cumberland facility

and advancing pharmaceutical research. Accordingly, Envigo does not oppose many aspects of

the relief sought in the motion for preliminary injunction. Envigo opposes the United States’

Motion only to the extent the relief requested would prevent Envigo from safely relocating the

approximately 3,000 dogs currently housed at the facility, and to winding down its operations.

                                  FACTUAL BACKGROUND

        Envigo is the second largest producer of canines for use in medical research, producing

approximately 25 percent of all beagle dogs used in medical research and drug development in

the United States. Declaration of John Sagartz, DVM, PhD, DACVPM, dated June 13, 2022

(“Sagatz Decl.”) ¶¶ 5, 8. The Cumberland facility is a USDA-regulated animal production
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facility focused on the generation of purpose-bred beagle dogs. Id. ¶ 6. These purpose-bred

beagle dogs are essential for biomedical research and the development of lifesaving drugs,

including medicines designed to treat cancer and autoimmune disorders. Id.

       In November 2021, Envigo was acquired by Inotiv, a contract research organization

specializing in nonclinical and analytical drug discovery and development services. Id. ¶ 5.

Since the acquisition, Inotiv and Envigo have been working diligently to address the concerns

raised about the Cumberland facility. Id. ¶¶ 9-11.

       In the months leading up to the May 18, 2022 search warrant, Envigo, and later Inotiv,

worked diligently to improve conditions at the facility. Sagartz Decl. ¶ 10. These improvements

include installing over 1,200 new aluminum doors; correcting gaps in enclosures; relocation of

and upgrading the flooring in the weaning and whelping area; purchasing over 500 whelping

boxes; installing generators and cooling towers to regulate temperature; hiring a board-certified

veterinarian behaviorist to assist with the aggression issues; transferring veterinary staff from

other Inotiv facilities; increasing salaries and offering other incentives to bolster its workforce;

and hiring a contract veterinarian to assist with dentals; as well as hiring additional staff.

Declaration of Carmen Wilbourn, dated June 13, 2022 (“Wilbourn Decl.”) ¶ 4; Sagartz Decl. ¶

10.

       Since this Court’s May 21, 2022 Order, Envigo and Inotiv have continued to devote

significant resources to compliance and to implementing other improvements at the facility.

Envigo has assembled a team of licensed veterinarians to assess the conditions at the facility and

to provide continuous care to the beagles housed at the facility. Declaration Len Edward

Murray, DACLAM, DACVPM (“Murray Decl.”) ¶ 4. In addition, Envigo employs a team of

animal care technicians who care for the animals. See id.



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        Envigo’s attending veterinarian has implemented a dietary plan that ensures that every

beagle is provided uncontaminated, wholesome, palatable food of sufficient quantity and

nutritive value and that is appropriate for the individual animal’s age and condition. Id. ¶ 7. In

addition, the facility has redundant systems in place to ensure that all dogs have access to potable

water. Id. ¶ 8. Envigo’s staff has also purchased 2,000 steel food/water bowls for gradual

introduction into the enclosures, added black rubber mats to each enclosure to address concerns

with flooring, installed partitions for enclosures, installed air conditioning units in all necessary

areas of the facility, including the dog housing areas, and sourced large volumes of compounded

medications to treat all 3,188 dogs in the facility for Giardia upon identifying a single positive

case. Wilbourn Decl. ¶¶ 6; 11. In the rare instances when fighting has occurred, the staff has

immediately separated and treated dogs. See Murray Decl. ¶ 9.

        In addition, Envigo’s veterinary care team also administered all medically appropriate

treatment recommended by the United States’ veterinarians within 10 days of the Order. Murray

Decl. ¶¶ 10-11. The team has also undertaken several preventative care efforts, including testing

for various parasites. Id. ¶¶ 12; 14. In compliance with the Court’s May 21 Order, Envigo

immediately ceased—and has not resumed—breeding, selling, or otherwise dealing in beagles at

the Cumberland facility. Wilbourn Decl. ¶ 7. Envigo has not euthanized any dogs at the

Cumberland facility without the consent of counsel for the United States since the issuance of the

Court’s Order. Declaration of Jeannie Perron, JD, DVM, dated June 12, 2022 (“Perron Decl.”) ¶

9. Pursuant to the Order’s notice requirements, Envigo has also provided approximately 5,000

pages of medical records, birth notices, and necropsy reports to counsel for the United States. Id.

¶ 5; see id. ¶¶ 6-8.




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                                          ARGUMENT

       Envigo has complied and continues to comply—to the fullest extent possible—with the

requirements in this Court’s May 21 Order and has no objection to the vast majority of the relief

requested by the United States’ Motion. This includes continuing to comply with the

requirements for handling, housing, feeding, watering, sanitation, and adequate veterinary care.

Mot. at 2-3 (requests for relief 1-10 and 13-14).

       Envigo only opposes the United States’ Motion to the extent it seeks to prevent Envigo

from taking prudent measures to remove dogs from the facility. See Mot. at 3 (requests for relief

11-12). Under the United States’ proposed preliminary injunction, Envigo would be barred from

transferring dogs from the Cumberland facility for an indeterminate period of time until the

facility is deemed “in full compliance with the terms of [the Order granting injunctive relief] and

the Court’s May 21, 2022 Order.” Mot. at 3, ¶ 12. Said differently, if granted in full, the Motion

would prevent Envigo from, for example, winding down the Cumberland facility and safely

transferring dogs to new homes without first bringing the facility into full compliance with the

AWA. See id. ¶¶ 11-12.

       However, in light of the serious allegations raised in the United States’ Complaint and

recurring challenges of operating the Cumberland facility, Inotiv and Envigo are willing to wind

down the facility’s operations. To do so would require transferring all dogs currently housed

there to new homes, both through adoption and through fulfillment of Envigo’s existing

contractual obligations to its customers. Permitting Envigo to remove dogs from the facility by

fulfilling existing contractual commitments, for example, would allow Envigo to transfer more

than 500 dogs to new homes within the next 30 days. Sagartz Decl. ¶ 17. Further, allowing

Envigo to fulfill existing orders for dogs, as part of this transfer and wind-down process, would

also minimize the immediate and long-lasting impact on ongoing and important pharmaceutical
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research of indefinitely halting operations at the Cumberland facility until the Parties can reach a

resolution regarding Envigo’s compliance with the AWA. See id. ¶¶ 15-17.

                                         CONCLUSION

       For the reasons stated above, Envigo respectfully requests that this Court permit Envigo

to take prudent measures to remove dogs from the facility and to allow for the orderly wind

down of the facility.



Dated: June 13, 2022                                  Respectfully submitted,

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